        Case No. 1:25-mj-00043-NRN                   Document 1          filed 02/26/25       USDC Colorado            pg 1
                                                            of 1
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                              Y
                                                                         &DVH1R 1:25-mj-00043-NRN
                 LUCY GRACE NELSON,
                 a/k/a Justin Thomas Nelson


                            Defendant(s)


                                                CRIMINAL COMPLAINT
        ,WKHFRPSODLQDQWLQWKLVFDVHDQGVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI               January 29, 2025           LQWKHFRXQW\RI           Larimer               LQWKH
     State and          'LVWULFWRI          Colorado         WKHGHIHQGDQW V YLRODWHG

             Code Section                                                  Offense Description
         18 U.S.C. § 844(i)                                   Malicious Destruction of Property




          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
          See Affidavit attached hereto and hereby incorporated by reference.




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u

                                                                                               s/Katrina Alconaba
                                                                                             Complainant’s signature

                                                                                  Special Agent Katrina Alconaba, ATF
                                                                                             Printed name and title

6ZRUQWREHIRUHPHDQG            VLJQHGLQP\SUHVHQFH   submitted, attested to, and acknowledged by reliable electronic means.


'DWH                 02/26/2025
                                                                                               Judge’s signature
                                                                          N. Reid Neureiter
&LW\DQGVWDWH       Denver, Colorado                                    United States Magistrate Judge
                                                                                             Printed name and title
